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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 23-cv-21023-ALTONAGA/DAMIAN


  EDWIN GARRISON, et al., on behalf of
  themselves and all others similarly situated,

         Plaintiffs,
  v.

  BEN ARMSTRONG, et al.,

        Defendants.
  _______________________________________/

                       ORDER TO APPEAR AND TO SHOW CAUSE
                        AS TO DEFENDANT BEN ARMSTRONG

         THIS CAUSE is before the Court on Plaintiffs’ Request for a Status Conference, to

  Bring Awareness of Defendant Armstrong’s Harassment Towards Plaintiffs’ Counsel, filed

  March 20, 2023 [ECF No. 5] (the “Request”), the Order granting the Request [ECF No. 6],

  and Plaintiffs’ Notice of Proof of Service on Defendant Armstrong and Materials for Show

  Cause Hearing, filed April 5, 2023 [ECF No. 20] (the “Notice”). 1

         THE COURT has considered the Request and Notice and the pertinent portions of

  the record and is otherwise fully advised in the premises. The Court also heard from Plaintiffs’

  counsel, Adam Moskowitz, and Jason Rindenau, an attorney who appeared on behalf of

  Defendant Ben Armstrong, at a Status Conference held on April 20, 2023.




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         This matter was referred to the undersigned by the Honorable Cecilia M. Altonaga,
  Chief United States District Judge, to take all necessary and proper action as required by law.
  [ECF No. 6]. See 28 U.S.C. § 636(b)(1).
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                                        BACKGROUND

         On March 15, 2023, Plaintiffs filed the instant lawsuit, a class action seeking to hold

  Defendants— alleged YouTube and social media influencers and promoters—responsible for

  Plaintiffs’ losses stemming from the collapse of the FTX cryptocurrency exchange. See

  generally Class Action Complaint [ECF No. 1]. Plaintiffs allege the Defendants each

  promoted, assisted in, and actively participated in the offer and sale of unregistered securities

  through their involvement with FTX Trading Ltd. d/b/a FTX and West Realm Shires

  Services Inc. d/b/a FTX US. Id. at 1. The Complaint asserts four claims against each

  Defendant requesting relief under Florida state law. Id. at 67–71.

         On March 20, 2023, five days after commencing the instant action, Plaintiffs filed a

  Notice of Filing [ECF No. 4] and Request for a Status Conference, To Bring Awareness of

  Defendant Armstrong’s Harassment Towards Plaintiffs’ Counsel [ECF No. 5] (the

  “Request”). Plaintiffs allege that shortly after the Complaint was filed, Defendant Ben

  Armstrong began harassing Plaintiffs’ counsel, Adam Moskowitz, by making numerous

  phone calls to Mr. Moskowitz’s law firm, posting insulting and threatening messages on social

  media platforms, including Twitter and YouTube, 2 and sending emails threatening Mr.

  Moskowitz and his family. See id.

         On March 21, 2023, this Court directed Plaintiffs’ counsel to notify the Court when

  Defendant Armstrong has been served with process and with the Request. [ECF No. 12].

  Thereafter, on April 5, 2023, Plaintiffs filed a Notice of Proof of Service and Materials for

  Show Cause Hearing indicating that Defendant Armstrong was served on April 5, 2023, and


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         The Complaint alleges that Defendant Ben Armstrong is a YouTube star with more
  than 1.5 million subscribers to his social media platform who was paid to endorse FTX.
  Compl. ¶ 29.
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  that Defendant Armstrong continued to make “daily violent threats” directed at Plaintiffs and

  their counsel. [ECF No. 20] (the “Notice”).

         On April 12, 2023, this Court ordered Defendant Armstrong to personally appear on

  April 20, 2023, before the undersigned for a Status Conference to address the matters alleged

  in Plaintiffs’ Request and Notice [ECF No. 24] (the “April 12, 2023 Order”). In that Order,

  the Court gave Defendant Armstrong the opportunity to respond to Plaintiffs’ filings. Id. The

  Court directed Plaintiffs’ counsel to: (1) email a copy of the Order to Defendant Armstrong

  at his personal email; (2) mail a copy of the Order to Defendant Armstrong through certified

  mail; and (3) file a notice of compliance with the Order by April 14, 2023. Plaintiffs filed a

  Notice of Compliance with the April 12, 2023 Order as directed. [ECF No. 27].

                       RELEVANT PROCEEDINGS AND FINDINGS

         Although expressly ordered to appear, Defendant Armstrong failed to appear at the

  Status Conference held on April 20, 2023. Mr. Rindenau indicated that he was retained by

  Defendant Armstrong to appear on his behalf. 3 Mr. Rindenau stated that Defendant

  Armstrong was aware that he had been ordered to appear at the Status Conference pursuant

  to this Court’s April 12, 2023 Order, but Mr. Rindenau was unable to explain why his client

  had not appeared as directed. Defendant Armstrong did not submit written response to

  Plaintiffs’ Request or Notice despite being given the opportunity to do so by this Court.

  Plaintiffs presented evidence at the hearing that Defendant Armstrong was not only aware of

  the hearing but that he willfully and intentionally chose not to appear and publicly disclosed

  his intention to contravene this Court’s Order requiring his appearance. As explained on the



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        After the Status Conference, Mr. Rindenau filed a notice of appearance on behalf of
  Defendant Armstrong. [ECF No. 28].

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  record at the Status Conference, the Court finds that Defendant Armstrong failed to comply

  with this Court’s Order by failing to appear.

         After being placed under oath, Mr. Moskowitz testified that he was in fear of his

  personal safety and his family’s safety because of the persistent communications, messages,

  and threats allegedly made by Defendant Armstrong against Mr. Moskowitz, his family, and

  his law firm. According to the Declaration of Lorenza Ospina, a paralegal at Mr. Moskowitz’s

  law firm, the law firm received an email on March 16, 2023, stating, in relevant part: “Only

  a couple bitcoins get you and your family shot. Please be careful. These people are dangerous

  and you have provoked them[.]” [ECF No. 4-1 at 11]. Mr. Moskowitz indicated that he

  reported the alleged threats to local law enforcement authorities and the FBI. The Court found

  Mr. Moskowitz’s representations, made under oath, credible.

         Counsel for Defendant Armstrong, Mr. Rindenau, indicated that he was sympathetic

  towards Mr. Moskowitz’s concerns for his and his family’s safety but asserted that any

  perceived threats pertain to the “threat of litigation” rather than physical harm. Mr. Rindenau

  also indicated that Defendant Armstrong is exercising his First Amendment rights through

  his social media posts.

                                         DISCUSSION

         “The First Amendment generally prevents government from proscribing speech, or

  even expressive conduct, because of disapproval of the ideas expressed.” R.A.V. v. City of St.

  Paul, Minn., 505 U.S. 377, 382 (1992) (internal citations omitted). These free speech

  protections are particularly strong with regard to prior restraints, or “administrative and

  judicial orders forbidding certain communications when issued in advance of the time that

  such communications are to occur.” Alexander v. United States, 509 U.S. 544, 550 (1993)


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  (quoting M. Nimmer, Nimmer on Freedom of Speech § 4.03, 4–14 (1984)); see also Test Masters

  Ed. Servs., Inc. v. Singh, 428 F.3d 559, 579 (5th Cir. 2005) (“Prior restraints are unconstitutional

  limitations on free speech except in exceptional circumstances.”).

         Nevertheless, “[c]ourts have made a distinction between communication and

  harassment… The difference is one between free speech and conduct that may be proscribed.”

  Singh, 428 F.3d at 580 (citing Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 502 (1949);

  R.A.V., 505 U.S. at 389). Accordingly, “courts do have the power to enjoin harassing

  communication.” Id. (citing Lewis v. S.S. Baune, 534 F.2d 1115, 1122 (5th Cir. 1976)).

         The Court finds that Plaintiffs’ counsel has presented sufficient evidence to

  demonstrate that Defendant Armstrong has crossed the line from civil communications with

  Plaintiffs’ counsel to harassment in connection with this matter. This harassment has occurred

  in the form of repetitive telephone calls to Plaintiffs’ counsel’s law firm and threats—direct or

  indirect, real or perceived—to Plaintiffs and Plaintiffs’ counsel’s safety.

         First Amendment rights, and in particular, the right to free speech, are vital and

  warrant the strongest protections. But they cannot be used as a shield to defend harassing,

  threatening, and dangerous conduct like that engaged in here. Defendant Armstrong’s

  conduct at issue is not only dangerous but is precisely the conduct courts have proscribed

  rather than protected. By failing to respond to Plaintiffs’ filings and failing to appear before

  the Court, Defendant Armstrong has given the Court no basis to find otherwise.




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                                         CONCLUSION

         Based on the foregoing, and for the reasons stated on the record at the Status

  Conference, it is hereby

         ORDERED as follows:

         1.     Defendant Ben Armstrong and his counsel of record shall appear in person 4 on

  Monday, April 24, 2023, at 10:00 a.m., before the undersigned at the C. Clyde Atkins United

  States Courthouse, 5 301 North Miami Avenue, 5th Floor, Miami, Florida 33128, and show

  cause why he should not be held in contempt for violating this Court’s April 12, 2023 Order. 6




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         Counsel for all other Defendants are not required to but may attend.
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          Prior to your courthouse visit, please review the Court’s Administrative Orders
  regarding entry into the courthouse by non-attorneys, including the applicable rules regarding
  cellular telephones and electronic devices (https://www.flsd.uscourts.gov/prohibited-
  electronic-devices).
  6
          “Where a party refuses to act in accordance with a court order, the other party typically
  requests the court to order the offending party to show cause why it should not be held in
  contempt and sanctioned.” Whatley v. World Fuel Servs. Corp., No. 20-20993-MC, 2020 WL
  4818924, at *2 (S.D. Fla. Aug. 19, 2020) (Torres, J.) (citing Mercer v. Mitchell, 908 F.2d 763,
  768 (11th Cir. 1990)). “Courts also have the inherent power to enforce compliance with their
  lawful orders through civil contempt.” Id. (citing Chambers v. NASCO, Inc., 501 U.S. 32, 44
  (1991)). “Civil contempt therefore provides courts with a sanction to enforce compliance with
  an order of the court or to compensate a complainant for losses or damages sustained by
  reason of noncompliance.” Id.; see also F.T.C. v. Leshin, 719 F.3d 1227, 1231 (11th Cir. 2013)
  (“[S]anctions in civil contempt proceedings may be employed for either or both of two
  purposes: to coerce the defendant into compliance with the court’s order, and to compensate
  the complainant for losses sustained.” (quoting Local 28 of Sheet Metal Workers’ Int’l Ass’n v.
  EEOC, 478 U.S. 421, 443 (1986)). These civil contempt sanctions may include, among other
  things, a coercive daily fine, a compensatory fine, attorney’s fees and expenses, and coercive
  incarceration. See Citronelle-Mobile Gathering, Inc. v. Watkins, 943 F.2d 1297, 1304 (11th Cir.
  1991).

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         2.     Defendant Ben Armstrong shall immediately refrain from sending harassing

  and threatening communications, directly or indirectly, to Plaintiffs, Plaintiffs’ counsel,

  Adam Moskowitz, his family, and his partners and associates at the Moskowitz Law Firm.

         3.     Defendant Ben Armstrong’s failure to comply with the instant Order may

  result in the imposition of sanctions, including the institution of contempt proceedings.

         DONE AND ORDERED in Chambers at Miami, Florida, this 20th day of April, 2023.




                                             ____________________________________
                                             MELISSA DAMIAN
                                             UNITED STATES MAGISTRATE JUDGE




  Copies to:
  Hon. Cecilia M. Altonaga, Chief U.S. District Judge
  Counsel of Record




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